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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

CAREY D. EBERT,                                   §
                                                  §
         Plaintiff,                               §
                                                  §
v.                                                §           Civil Action No.: 4:15-cv-225-0
                                                  §
MICHAEL GUSTIN, ET AL.,                           §
                                                  §
         Defendants.                              §


    DEFENDANTS MICAEL GUSTIN, JEFFREY WOHLER, AND JOHN PAUL
 DEJORIA’S OBJECTIONS TO PLAINTIFF’S PROPOSED DEPOSITION EXCERPTS
   AND CONDITIONAL SUPPLEMENTAL DEPOSITION CUTS DESIGNATIONS

         Defendants John Paul DeJoria, Michael Gustin, and Jeffrey Wohler (the “DGW

Defendants”) file the following objections to the deposition designations filed by Plaintiff Carey

D. Ebert, as the Chapter 11 trustee of the Latitude Solutions Inc. bankruptcy estate (the “Trustee”)

and in support thereof state as follows:

         In connection with the objections below, counsel for the Trustee and all Defendants are

and have been working together to streamline their respective objections to deposition

designations. In this regard, the parties have conferred pursuant to Local Rule 7.1 and will

continue to do so in order to narrow any issues prior to the June 26th / July 3rd deadline set by the

Scheduling Order (Rec.Doc. 210) and/or by the time any pretrial conference may be set by the

Court. The parties further respectfully suggest that many of their respective objections are

addressed in their respective Motions in Limine, and that the rulings regarding these motions may

resolve many of the objections asserted at this time.

         In addition, the DGW Defendants also identify herein additional deposition designations

that they intend to conditionally offer based on deposition excerpts proposed by the Trustee.
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Key to Objection Referenced Below:

“MIL”   refers to the Motion in Limine by the by the DGW Defendants that is currently pending
        before the Court.
“MILS” refers to the Limine stipulations agreed by the parties as part of the Joint Pre-Trial Order
        filed on June 15, 2017.
FRE 403 refers to objection based on confusing, unfair, misleading or unduly evidence under FRE
        403.
FRE 404 refers to objection based on character evidence inconsistent with FRE 404
FRE 602 refers to objection based on lack of personal knowledge under FRE 602

                                    Martin Charles Donegani

               Excerpt                   Objection                  Basis for Objection
                                         Yes or No

  45:1-18                          Yes                  MIL#6
  63:22-67:8                       Yes                  MIL#1, FRE 403, FRE 404
  69:10-12                         Yes                  MIL#1, FRE 403, FRE 404
  71:18-72:20                      Yes                  MIL#1, FRE 403, FRE 404
  77:7-79:21                       Yes                  MIL#9
  80:10-11                         Yes                  MILS #3, FRE 403, FRE 404
  80:20-83:22                      Yes                  MILS#3
  86:19-25                         Yes                  MIL#9
  103:4-19                         Yes                  MILS #3, FRE 403, FRE 404
  105:23-106:8                     Yes                  MILS#3, FRE 403, FRE 404
  131:25-132:2                     Yes                  MIL#9, FRE 403
  134:1-135:9                      Yes                  MIL#9, FRE 403
  140:20-142:18                    Yes                  MIL#9, FRE 403
  153:5-153:10                     Yes                  MIL#8, FRE 403
  249:19-250-4                     Yes                  Rule 602

  CONDITIONAL SUPPLEMENTAL DEPOSITION CUT DESIGNATIONS BASED ON
                   THE TRUSTEE’S DESIGNATIONS

  198:19-200:6
  200:23-201:3
  202:16-203:24


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                                     Harvey Klebanoff

             Excerpt                 Objection              Basis for Objection
                                     Yes or No

15:13-17:19                    Yes                MIL#1, FRE 403, FRE 404
85:19-87:11                    Yes                MIL#1, FRE 403, FRE 404
97:21-98:15                    Yes                MIL#1, FRE 403, FRE 404
98:22-101:5                    Yes                MIL#1, FRE 403, FRE 404
102:18-103:12                  Yes                MIL#1, FRE 403, FRE 404
111:4-18                       Yes                MIL#7, FRE 403
112:12-113:10                  Yes                MIL#8, FRE 403
117:3-25                       Yes                MIL#1, FRE 403, FRE 404
158:7-159:10                   Yes                MIL#6, FRE 403
188:23-189:24                  Yes                MIL#8, FRE 403
213:23-214:21                  Yes                MIL#8, FRE 403
415:12-9                       Yes                MILS#3, FRE 403, FRE 404
415:12-416:9                   Yes                MILS#3, FRE 403, FRE 404
416:18-417:1                   Yes                MILS#3, FRE 403, FRE 404
424:13-425:2                   Yes                MIL#1, FRE 403, FRE 404
425:14-427:14                  Yes                MIL#1, FRE 403, FRE 404
427:15-429:7                   Yes                MIL#6, FRE 403
429:7-431:25                   Yes                MIL#1, FRE 403, FRE 404

                                Joseph Anthony McGee

             Excerpt                 Objection              Basis for Objection
                                     Yes or No

60:15-61:5                     Yes                MIL#1, FRE 403, FRE 404
61:15- 62:18                   Yes                MIL#1, FRE 403, FRE 404
62:24-63:9                     Yes                MIL#1, FRE 403, FRE 404
63:18-22                       Yes                MIL#9, FRE 403, FRE 802
63:22-64:5, 64:11-13, 64:16-   Yes                MIL#1, MIL#2, FRE 403, FRE 404
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 75:6-8                            Yes                  MIL#1, FRE 403, FRE 404
 100:7-102:19                      Yes                  MIL#1, FRE 403, FRE 404
 122:16-123:7                      Yes                  MIL#2
 129:14-23                         Yes                  MIL#2
 133:11-14, 133:21-25              Yes                  MIL#2

         The DGW Defendants further object to the entire deposition submission of Matt Cohen by

the Plaintiff for the reason that Mr. Cohen will be attending the testifying live.      The DGW

Defendants further object because to date the Trustee had conditionally designated the entire multi-

day transcript of Mr. Cohen’s deposition in the event Mr. Cohen does not attend trial, but counsel

has indicated that she does not to use the entire transcript if Mr. Cohen does not attend trial. As

such, it is overly burdensome to require the DGW Defendants to raise any specific objections

unless and until the Trustee has identified which portions of the testimony she may actually use at

trial.

         Finally, the GWD Defendants do not waive any right or privilege to supplement or amend

these objections at any time. Further, the DGW Defendants join with all objections filed by their

co-defendants and accept those objections as their own.




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                                          Respectfully submitted,

                                          McGuireWoods LLP

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                                          Counsel for John Paul DeJoria,
                                          Mike Gustin, and Jeffrey Wohler

                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served via the Court’s ECF
system to counsel, on this 15th day of June, 2017.



                                                        /s/ K. Knox Nunnally
                                                        K. Knox “Lighthorse” Nunnally


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